
	OSCN Found Document:IN RE REVISION OF PORTION OF RULES OF COURT OF CRIMINAL APPEALS

	
				
            
    OSCN navigation


    
        Home

        
        Courts

        
        Court Dockets

        
        Legal Research

        
        Calendar

        
        Help
    





				
					
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
			

        
            
				
				IN RE REVISION OF PORTION OF RULES OF COURT OF CRIMINAL APPEALS2014 OK CR 7Case Number: CCAD-2014-2Decided: 06/23/2014IN RE REVISION OF PORTION OF RULES OF COURT OF CRIMINAL APPEALS
Cite as: 2014 OK CR 7, __  __

CORRECTION ORDER
¶1 The first sentence of Rule 2.2(G) in the attachment designated Rule 2.2 
Form and Contents of Record which was attached to the Order Adopting Revision in 
and Republishing Portion of The Rules of the Court of Criminal Appeals, filed 
herein on June 19, 2014, shall be corrected as follows:

G. When the Record Includes Child Pornography. When the record includes 
exhibits which depict or contain child pornography (See Section 1024.1 of 
Title 21), the trial court shall take precautionary steps in the handling of 
such exhibits.In all other regards the attachment shall remain unaltered.
¶2 IT IS SO ORDERED. 
WITNESS MY HAND AND THE SEAL OF THIS COURT this 23rd day of June, 2014.
/S/DAVID B. LEWIS, Presiding Judge
ATTEST:/s/Michael S. 
RichieClerk




	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	None Found.


				
					
					
				
             
         
        
            

		